Case 2:25-cv-00267-NT    Document 10     Filed 05/27/25   Page 1 of 15   PageID #: 57




                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

EYIDI AMBILA,                                 )
                                              )
                   Petitioner,                )
                                              )
      v.                                      )            2:25-cv-00267-NT
                                              )
KEVIN JOYCE, et al.,                          )
                                              )
                   Respondents.               )

      ORDER ON MOTION FOR TEMPORARY RESTRAINING ORDER

      The court issues a temporary restraining order, restraining the federal

defendants from deporting the plaintiff pending further order of the court.

I.    BACKGROUND

      A.     Procedural History

      On May 22, 2025, Eyidi Ambila filed a petition for writ of habeas corpus under

28 U.S.C. § 2241. According to the petition, Mr. Ambila is a forty-four-year-old man

who has lived in the United States since he was seven. Pet. for Writ of Habeas Corpus

¶ 1 (ECF No. 1) (Pet.). Although Mr. Ambila originally came from the Democratic

Republic of the Congo (DRC), he reports that country has no record of his birth and

has denied requests to issue him a passport and other official documents. Pet. ¶ 1.

      When Mr. Ambila filed his petition, he was detained in civil immigration

custody at the Cumberland County Jail in Portland, Maine. Id. ¶ 5. He alleges that

he had been detained in U.S. Immigration and Customs Enforcement (ICE) custody

for eight months, since September 23, 2024. Id. ¶¶ 2, 5. There is an administratively

final order of removal against Mr. Ambila since February 12, 2007, but he claims that
Case 2:25-cv-00267-NT    Document 10     Filed 05/27/25   Page 2 of 15   PageID #: 58




the Department of Homeland Security (DHS) has attempted and failed—for eighteen

years—to obtain the travel documents necessary for his removal. Id. ¶ 2. Mr. Ambila

alleges that his prolonged detention violates the Due Process Clause of the Fifth

Amendment and the Immigration and Nationality Act, 8 U.S.C. § 1231(a). Id. ¶¶ 57–

65.

      As respondents to his petition, Mr. Ambila named the Cumberland County

sheriff along with Patricia Hyde, in her official capacity as Acting Director of the

Boston Field Office of ICE, Kristi Noem, in her official capacity as Secretary of DHS,

and Pamela Bondi, in her official capacity as Attorney General of the United States.

Mr. Ambila’s petition requests that the Court assume jurisdiction over the matter,

declare that the Respondents’ ongoing prolonged detention of Mr. Ambila violates due

process and 8 U.S.C. § 1231(a), and issue a writ of habeas corpus ordering the

Respondents to release him immediately.

      The morning of May 27, 2025, Director Hyde, Secretary Noem, and Attorney

General Bondi (collectively, the Federal Defendants) filed a response in opposition to

Mr. Ambila’s petition for writ of habeas corpus. Return and Resp. in Opp’n to Pet. for

Writ of Habeas Corpus (ECF No. 5) (Defs.’ Resp.). The Federal Defendants confirmed

that Mr. Ambila was “presently detained” at the Cumberland County Jail in ICE

custody pursuant to 8 U.S.C. § 1231 because Mr. Ambila is subject to a final order of

removal, but they maintain that he is not entitled to a writ of habeas corpus because

his petition is now moot. Defs.’ Resp. at 1. According to the Federal Defendants, Mr.




                                          2
Case 2:25-cv-00267-NT     Document 10     Filed 05/27/25   Page 3 of 15   PageID #: 59




Ambila “is confirmed on a flight to the Democratic Republic of Congo for removal in

the immediate future.” Id. at 2.

      About an hour later, the Petitioner filed a motion to prohibit Mr. Ambila’s

transfer to a facility outside the Court’s jurisdiction and from removing him from the

continental United States while this matter proceeds. Mot. to Prohibit Transfer and

Removal or, in the Alternative, to Provide Notice Transfer (ECF No. 6) (Pet’r’s Mot.).

The Federal Respondents opposed the motion and noted that Mr. Ambila had already

been transferred to the ICE Field Office in Burlington, Massachusetts to facilitate his

“imminent” removal. Opp’n to Mot. to Prohibit Transfer and Removal or, in the

Alternative, to Provide Notice Transfer (ECF No. 7) (Resp’t’s Opp’n). On May 27, 2025,

the Court held a teleconference with counsel for Mr. Ambila and the Federal

Respondents to discuss the pending petition and motion. At the conference, counsel

for the Federal Respondents reported that Mr. Ambila could be boarding an airplane

and departing for the DRC as soon as this afternoon. Min. Entry (ECF No. 9).

      B.     Factual Record

      Mr. Ambila is a resident alien detained by U.S. Immigration and Customs

Enforcement (ICE) since September 23, 2024. Pet. ¶ 11. He is a forty-four-year old

citizen of the DRC who has lived in the United States since he was seven years old

who has resided in the United States since he arrived with his family in 1989. Id. ¶¶

16, 18. He and his family were granted asylum based on political persecution in the

DRC. Id. ¶¶ 19, 20.




                                          3
Case 2:25-cv-00267-NT    Document 10    Filed 05/27/25   Page 4 of 15   PageID #: 60




      He was detained by ICE following a felony conviction in December 2005 and

was ordered removed to the DRC in October 2006. Id. ¶¶ 21, 22. A Board of

Immigration Appeals (BIA) denied his appeal of his order of removal in 2007. Id. ¶

23. He was released from ICE custody in August 2007 under an Order of Supervision,

and lived in the United States under such order from 2007 until 2024. Id. ¶¶ 26, 27.

      On May 20, 2024, Petitioner was arrested and placed in state custody, and on

September 23, 2025 he was convicted of misdemeanor reckless conduct (class D) and

misdemeanor domestic violence assault (class D) as part of a plea agreement at the

Cumberland County Superior Court in Portland, Maine. Id. ¶ 28. On September 23,

2024, Petitioner completed his criminal sentence and was transferred into ICE

custody at Cumberland County Jail, at which time Defendants notified Petitioner of

revocation of release and indicated their intent to remove him in the reasonably

foreseeable future. Id. ¶¶ 29, 30. Defendants informed him that he would be provided

with a decision in his custody status review on or about December 22, 2024. The

Federal Respondents informed Mr. Ambila that he would be provided with a decision

in his custody status review on or about December 22, 2024, but he never received

such decision. Id. ¶ 31. He has not received any further communications from the

Defendants. Id. ¶¶ 32-24.

II.   THE PARTIES’ POSITIONS

      A.    The Petitioner’s Motion to Prohibit Transfer and Removal

      The Petitioner moves pursuant to Federal Rule of Civil Procedure 7(b),

requesting the Court use its judicial power to preserve its jurisdiction over the


                                         4
Case 2:25-cv-00267-NT     Document 10      Filed 05/27/25   Page 5 of 15   PageID #: 61




pending habeas petition so as to ensure the Court can evaluate the Petitioner’s claims

and grant relief as law and justice require. Pet’r’s Mot. at 1. Specifically, Mr. Ambila

moves the Court to “prohibit Respondents from transferring Petitioner to a facility

outside of this Court’s jurisdiction and from removing Petitioner from the continental

United States during the pendency of this proceeding.”         Id.   Alternatively, the

Petitioner requests the Court order Respondents to provide him, his counsel, and the

Court “with at least 2 business days’ notice of any scheduled transfer or removal

outside of the jurisdiction of the Court.” Id.

       B.    The Government’s Opposition

       The Government opposes the Petitioner’s motion.               The crux of the

Government’s objection is that, because Mr. Ambila “has already been transferred to

the Burlington (Massachusetts) ICE Field Office in order to facilitate [his] removal,

which remains imminent,” Mr. Ambila’s “underlying Zadvydas claim remains moot.”

Gov’t’s Opp’n at 1-2.


III.   LEGAL STANDARD
       The standard for issuing a temporary restraining order is the same as for a

preliminary injunction and is provided by traditional equity doctrines. Aftermarket

Auto Parts All., Inc. v. Bumper2Bumper, Inc., Civil No. 1:12-cv-00258-NT, 2012 U.S.

Dist. LEXIS 143685, *3 (D. Me. Oct. 4, 2012); accord 11A WRIGHT, MILLER & KANE §

2942, at 37; Alcom, LLC v. Temple, No. 1:20-cv-00152-JAW, 2020 U.S. Dist. LEXIS

79863, at *15 (D. Me. May 6, 2020) (collecting cases).




                                           5
Case 2:25-cv-00267-NT     Document 10      Filed 05/27/25    Page 6 of 15    PageID #: 62




      “A preliminary injunction is an extraordinary and drastic remedy that is never

awarded as of right.” Peoples Fed. Sav. Bank v. People’s United Bank, 672 F.3d 1, 8-

9 (1st Cir. 2012) (quoting Voice of the Arab World, Inc. v. MDTV Med. News Now, Inc.,

645 F.3d 26, 32 (1st Cir. 2011); accord Mass. Coal. of Citizens with Disabilities v. Civ.

Def. Agency & Off. of Emergency Preparedness, 649 F.2d 71, 76 n.7 (1st Cir. 1981)

(“The authority of the District Court Judge to issue a preliminary injunction should

be sparingly exercised”)). “In order for a court to grant this type of relief, a plaintiff

‘must establish [1] that he is likely to succeed on the merits, [2] that he is likely to

suffer irreparable harm in the absence of preliminary relief, [3] that the balance of

equities tips in his favor, and [4] that the injunction is in the public interest.” .”

Peoples Fed. Sav. Bank, 672 F.3d at 8-9 (quoting Winter v. NRDC, Inc., 555 U.S. 7,

20 (2008)).   “The party seeking the preliminary injunction bears the burden of

demonstrating that these four factors weigh in its favor.” Esso Standard Oil Co. v.

Monroig-Zayas, 445 F.3d 13, 18 (1st Cir. 2006). “[T]rial courts have wide discretion

in making judgments regarding the appropriateness of” preliminary injunctive relief.

Sanchez v. Esso Standard Oil Co., 572 F.3d 1, 14 (1st Cir. 2010).

IV.   DISCUSSION
      A.      Likelihood of Success on the Merits

              1.    Jurisdiction

      As an initial matter, the Court concludes that it retains jurisdiction over Mr.

Ambila’s habeas petition notwithstanding his recent removal to the District of

Massachusetts. “District courts are limited to granting habeas relief ‘within their

respective jurisdictions,’” Rumsfeld v. Padilla, 542 U.S. 426, 442 (2004) (quoting 28

                                            6
Case 2:25-cv-00267-NT     Document 10     Filed 05/27/25    Page 7 of 15   PageID #: 63




U.S.C. § 2241(a)), and “with respect to habeas petitions ‘designed to relieve an

individual from oppressive confinement,’ the traditional rule has always been that

the Great Writ is ‘issuable only in the district of confinement.’” Id. (quoting Carbo v.

United States, 364 U.S. 611, 618 (1961)).        Furthermore, “[u]nder habeas law,

jurisdiction in a particular district is established when a petitioner is physically

present in the district at the same moment a petition is filed there on his behalf.”

Mahmoud Khalil v. Joyce, No. 25-cv-01963 (MEF)(MAH), 2025 U.S. Dist. LEXIS

63573, at *7 (D.N.J. April 1, 2025); accord Rumsfeld, 542 U.S. at 435 (2004); United

States v. Hayman, 342 U.S. 205, 213 (1952); Ahrens v. Clark, 335 U.S. 188, 190 (1948).

      Here, the parties do not dispute that, when Mr. Ambila filed his habeas

petition, he was in custody in the District of Maine and, thus, the Court concludes it

retains jurisdiction even though the Petitioner is now in custody in the District of

Massachusetts.

             2.     The Merits of Mr. Ambila’s Habeas Petition

      Within the First Circuit, a likelihood of success on the merits is both the “sine

qua non” and the “most important part of the preliminary injunction assessment”;

the First Circuit has explained that “if the moving party cannot demonstrate that he

is likely to succeed in his quest, the remaining factors become matters of idle

curiosity.” Sindicato Puertorriqueño de Trabajadores, 699 F.3d at 7, 10 (quoting

Jean, 492 F.3d at 27; New Comm Wireless Servs. Inc., 287 F.3d at 9. To carry his

burden on this factor, a plaintiff “must establish a ‘strong likelihood’ that he will

ultimately prevail.” Id. at 10 (quoting Respect Maine PAC v. McKee, 622 F.3d 13, 15



                                           7
Case 2:25-cv-00267-NT     Document 10     Filed 05/27/25    Page 8 of 15   PageID #: 64




(1st Cir. 2010)). Mr. Ambila brings his habeas petition for violation of his Due Process

rights under the Fifth Amendment to the federal Constitution and of 8 U.S.C. §

1231(a) pursuant to Zadvydas v. Davis, 533 U.S. 678 (2001); the Court thus considers

Mr. Ambila’s likelihood of success on these claims.

      The Zadvydas Court unequivocally held that, after an alien subject to removal

has been detained for six months and has provided “good reason to believe that there

is no significant likelihood of removal in the reasonably foreseeable future, the

Government must respond with evidence sufficient to rebut that showing.”

Zadvydas, 533 U.S. at 701. Here, the Petitioner has provided ample support for his

belief that there is no significant likelihood of removal in the reasonably foreseeable

future based on his and DHS’s failed attempts to obtain a Congolese passport and

travel documents necessary for his removal over the eighteen-year history of Mr.

Ambila’s removal proceeding.      Pet. at 8 (citing id., Attach. 1, Appl. Form for a

Substitute for Passport; id., Attach. 2, Minister of Foreign Affairs Statement on

Current Passport Request in the Dem. Rep. Congo; id., Attach. 3, Passport Request

Form). In contrast, the only evidence of removal in the reasonably foreseeable future

provided by the Government is the declaration of Mr. Chan, which Mr. Ambila “is

confirmed on a flight to the Democratic Republic of Congo for removal in the

immediate future. The Petitioner’s removal is imminent.” Chan Decl. ¶ 7.

      Based on the evidence in the record, the Court concludes that the Petitioner

has evidenced a likelihood of success on his claim, as the Government has not

produced evidence of a Congolese passport for Mr. Ambila or other travel documents



                                           8
Case 2:25-cv-00267-NT     Document 10     Filed 05/27/25   Page 9 of 15   PageID #: 65




demonstrating the temporal imminency of his travel, nor has it provided evidence

indicating the DRC has consented to Mr. Ambila’s removal there. Without such

evidence, the Court cannot reach the conclusion that the Petitioner’s removal to the

DRC is significantly likely to occur in the reasonably foreseeable future.         See

Zadvydas, 533 U.S. at 701.

      B.     Likelihood of Irreparable Harm

      Mr. Ambila argues that it is important for the Court to preserve its jurisdiction

over the pending habeas petition until the Court has the opportunity to evaluate Mr.

Ambila’s claims. He maintains that the Court must prohibit the Federal Respondents

from removing Mr. Ambila to “(1) preserve existing conditions and the potential

jurisdiction of the Court over pending matters while the Court determines the scope

of its authority to grant the requested relief; (2) to ensure Petitioner[ ] are able to

participate in the adjudication of their requests for habeas relief, including

participation in court proceedings and access to legal counsel for such purpose; (3) to

ensure the Court is able to evaluate their respective claims for relief based on their

in-court testimony that may be offered; and (4) to ensure the Government has a

fulsome opportunity to brief and present arguments in its defense.” Pet’r’s Mot. at 2

(quoting Standing Order 2025-01, In re: Petitions for Writs of Habeas Corpus—Alien

Detainee, Misc. No. 00-308 (D. Md. 2025)). During the teleconference with the Court,

the Federal Respondents argued that a temporary restraining order prohibiting Mr.

Ambila’s deportation would run counter to the relief Mr. Ambila requested in his




                                          9
Case 2:25-cv-00267-NT         Document 10        Filed 05/27/25     Page 10 of 15      PageID #: 66




 petition because it would mean that Mr. Ambila would be detained longer. Counsel

 reiterated that Mr. Ambila might be imminently boarding a plane for the DRC.

        The Court concludes that Mr. Ambila has demonstrated its likelihood of

 irreparable harm absent temporary injunctive relief. The Federal Respondents have

 stated Mr. Ambila will be put on a plane any minute now. Absent a TRO, Mr. Ambila

 faces irreparable harm because it will be difficult to get Mr. Ambila back to the United

 States for the remainder of this proceeding.

        C.      The Balance of the Equities and the Public Interest 1

        Finally, upon consideration of the last two factors, the balance of the equities

 weighs in favor of granting the Petitioner’s TRO, and a TRO would serve the public

 interest. To obtain preliminary injunctive relief, a petitioner must also show “the

 balance of equities tips in [its] favor.” Winter, 555 U.S. at 20. This involves weighing

 “the balance of relevant hardships as between the parties.” Vaqueria Tres Monjitas,

 Inc. v. Fabre Laboy, 587 F.3d 464, 482 (1st Cir. 2009). Furthermore, “[i]n exercising

 their sound discretion, courts of equity should pay particular regard for the public

 consequences in employing the extraordinary remedy of injunction.” Winter, 555 U.S.

 at 24. Injunctive relief is “an extraordinary remedy that may only be awarded upon

 a clear showing that the plaintiff is entitled to such relief.” Id. at 22 (citing Mazurek

 v. Armstrong, 520 U.S. 968, 972 (1997)).




 1      The Supreme Court has instructed that the last two factors in the TRO analysis “merge when
 the Government is the party opposing the [TRO]”; the Court follows this instruction and reviews the
 balance of the equities and the public interest in tandem. Nken v. Holder, 556 U.S. 418, 435 (2009).


                                                 10
Case 2:25-cv-00267-NT     Document 10     Filed 05/27/25    Page 11 of 15    PageID #: 67




       Here, as discussed above, the hardship to Mr. Ambila absent a TRO is obvious:

 if his removal does not comply with due process, he risks removal to an uncertain

 destination, on an uncertain timeline, through unspecified means.          The relative

 hardship to the Government, in contrast, is slight. Furthermore, in cases implicating

 removal, “there is a public interest in preventing aliens from being wrongfully

 removed, particularly to countries where they are likely to face substantial harm.”

 Nken, 556 U.S. at 436; accord D.V.D. v. United States Dep’t of Homeland Sec., Civil

 Action No. 25-10676-BEM, 2025 U.S. Dist. LEXIS 74197, at *54 (April 18, 2025)

 (same). While there is also “a public interest in prompt execution of removal orders,”

 Nken, 556 U.S. at 436, the Supreme Court has confirmed that “our system does not

 permit agencies to act unlawfully even in pursuit of desirable ends.” Alabama Ass’n

 of Realtors v. HHS, 594 U.S. 758, 766 (2021); see also NFIB v. Dep’t of Labor, 595 U.S.

 109, 120–21 (2022) (staying an illegal vaccine mandate even though the Government

 said the mandate would save more than 6,500 lives); Youngstown Sheet & Tube Co.

 v. Sawyer, 343 U.S. 579, 582 (1952) (affirming district court’s preliminary injunction

 of an illegal executive order even though a wartime president said his order was

 “necessary to avert a national catastrophe”). Further, “[t]he fact that [Plaintiff] has

 shown a likelihood of success on the merits strongly suggests that a TRO would serve

 the public interest.” New York v. Trump, No. 25-cv-39, 2025 U.S. Dist. LEXIS 17593,

 at *17 (D.R.I. Jan. 31, 2025); accord League of Women Voters of U.S. v. Newby, 838

 F.3d 1, 12 (D.C. Cir. 2016) (“[T]here is a substantial public interest in having

 governmental agencies abide by the federal laws that govern their existence and



                                           11
Case 2:25-cv-00267-NT      Document 10      Filed 05/27/25    Page 12 of 15   PageID #: 68




 operations”) (internal quotation marks omitted). Thus, these final factors in the

 analysis lean in the Petitioner’s favor.



 V.    LIMITATIONS OF RELIEF
       “[An] injunction should issue only where [it is] essential in order effectually to

 protect . . . rights against injuries otherwise irremediable.” Weinberger v. Romero-

 Barcelo, 456 U.S. 305, 312 (1982) (quoting Cavanaugh v. Looney, 248 U.S. 453, 456

 (1919)). Here, the “irremediable” injury would be deportation without due process,

 notice, and meaningful opportunity to be heard.

       Accordingly, the Court circumscribes its remedy, at this time, to preventing

 the U.S. Department of Homeland Security from removing Mr. Ambila from the

 continental United States before the Court has had the opportunity to issue a ruling

 on his habeas petition. See, e.g., Lynch v. Dukakis, 719 F.2d 504, 514 (1st Cir. 1983)

 (“The ‘principles of equity jurisprudence’ suggest that ‘the scope of injunctive relief is

 dictated by the extent of the violation established . . . [and] the relief afforded [may

 not be] more burdensome than necessary to redress the complaining parties’”) (citing

 Califano v. Yamasaki, 442 U.S. 682, 702, (1979); Milliken v. Bradley, 433 U.S. 267,

 280-81 (1977)).

 VI.   BOND REQUIREMENT

       Pursuant to Federal Rule of Civil Procedure 65(c), “[t]he court may issue a

 preliminary injunction or a temporary restraining order only if the movant gives

 security in an amount that the court considers proper to pay the costs and damages

 sustained by any party found to have been wrongfully enjoined or restrained.” FED.

                                            12
Case 2:25-cv-00267-NT      Document 10     Filed 05/27/25    Page 13 of 15    PageID #: 69




 R. CIV. P. 65(c). The First Circuit has explained “[t]he purpose of such a bond is to

 ensure that the enjoined party may readily be compensated for the costs incurred as

 a result of the injunction should it later be determined that it was wrongfully

 enjoined.” Axia NetMedia Corp. v. Mass. Tech. Park Corp., 889 F.3d 1, 11 (1st Cir.

 2018); accord Edgar v. MITE Corp., 457 U.S. 624, 649 (1982) (Stevens, J., concurring)

 (“The bond, in effect, is the moving party’s warranty that the law will uphold the

 issuance of the injunction”).

       The First Circuit has previously indicated “there is ample authority for the

 proposition that the provisions of Rule 65(c) are not mandatory and that a district

 court retains substantial discretion to dictate the terms of an injunction bond,” Int’l

 Ass’n of Machinists & Aerospace Workers v. E. Airlines, Inc., 925 F.2d 6, 9 (1st Cir.

 1991) (collecting cases), but the district courts in this circuit have generally required

 a bond to be posted. See WEX Inc. v. HP Inc., No. 2:24-cv-00121-JAW, 2024 U.S. Dist.

 LEXIS 119715, at *99-100 (D. Me. July 9, 2024) (collecting cases). At the May 27,

 2025 conference of counsel, the Government represented that, should the Court grant

 the Petitioner’s motion to prohibit Mr. Ambila’s transfer or removal, it would seek

 the posting of bond authorized under Rule 65.

        District courts are vested with “wide discretion” to set the amount of the bond.

 Axia NetMedia, 889 F.3d at 11; accord Totem Forest Prods. v. T & D Timber Prods.,

 No. 2:17-cv-00070-JDL, 2017 U.S. Dist. LEXIS 26062, at *5 (D. Me. Feb. 24, 2017)

 (“The Court has discretion to determine the amount of the security”). Typically, in

 determining the appropriate amount of bond, district courts consider “the potential



                                            13
Case 2:25-cv-00267-NT      Document 10      Filed 05/27/25    Page 14 of 15    PageID #: 70




 incidental and consequential costs as well as [] the losses the unjustly enjoined or

 restrained party will suffer during the period the party is prohibited from engaging

 in certain activities.” 11A CHARLES ALAN WRIGHT, ARTHUR R. MILLER & MARY KAY

 KANE, FEDERAL PRACTICE AND PROCEDURE § 2954 (3d ed. 2013); accord WEX Inc.,

 2024 U.S. Dist. LEXIS 119715, at *99-100. However, the First Circuit has recognized

 a trend in “suits to enforce important federal rights or ‘public interests’” to not require

 posting of a substantial bond. See Crowley v. Local No. 82, Furniture & Piano Moving,

 679 F.2d 978, 999-1000 (1st Cir. 1982) (collecting cases), rev’d on other grounds, 467

 U.S. 526 (1984); accord Sanchez, 2010 U.S. Dist. LEXIS 9942, at *36-37 (“As

 recognized by the First Circuit in Crowley v. Local No. 82, Furniture & Piano Moving,

 there is a trend in ‘public interest’ litigation to only require nominal security or to

 completely dispense with the security requirement”). This trend extends to other

 federal courts. See, e.g., Alabama ex rel. Baxley v. Corps of Eng’rs of U.S. Army, 411

 F. Supp. 1261, 1275-76 (N. D. Ala. 1976) (collecting cases); South Carolina v. United

 States, 329 F. Supp. 3d 214, 238 n.35 (D.S.C. 2018) (same), vacated on other grounds,

 912 F.3d 720 (4th Cir. 2019); Nat’l Ass’n of Diversity Officers in Higher Educ. v.

 Trump, Civ. No. ABA-25-0333, 2025 U.S. Dist. LEXIS 31747, at *85 (D. Md. Feb. 21,

 2025).

          The Crowley Court provided a three-factor test to aid the district court’s

 determination of whether to impose a substantial bond requirement: (1) “the possible

 loss to the enjoined party together with the hardship that a bond requirement would

 impose on the applicant”; (2) “the impact that a bond requirement would have on the



                                             14
Case 2:25-cv-00267-NT       Document 10    Filed 05/27/25   Page 15 of 15    PageID #: 71




 enforcement of a federal right”; and (3) whether the likelihood of success on the merits

 of the claims at issue is “extraordinarily high.” Crowley, 679 F.2d at 1000 & n.25;

 accord Sanchez, 2010 U.S. Dist. LEXIS 9942, at *37.

          Applying these factors to the case at bar, the Court concludes that a nominal

 bond is appropriate. It is true that the temporary restraining order risks a harm to

 the Government by temporarily foreclosing its ability to deport Mr. Ambila. However,

 the ultimate costs associated with the Government’s action are too complex to

 calculate in this expedited proceeding and imposition of a substantial bond would

 plainly have a significant effect on Mr. Ambila’s assertion of his federal right to due

 process. Accordingly, the Court will require the Plaintiff to post a bond of $100 within

 48 hours of the issuance of this Order pursuant to Federal Rule of Civil Procedure

 65(c).

 V.       CONCLUSION
          The Court ORDERS that the Federal Defendants in this matter are hereby

 ENJOINED from removing Eyidi Ambila from the United States of America pending

 further order of this Court. The Court will schedule a further conference of counsel

 as soon as it becomes clear whether this order has been effective in its relief.


          SO ORDERED.

                                   /s/ John A. Woodcock, Jr.
                                   JOHN A. WOODCOCK, JR.
                                   UNITED STATES DISTRICT JUDGE

 Dated this 27th day of May, 2025




                                            15
